  Case 3:22-cr-00144-DJH Document 17 Filed 01/17/23 Page 1 of 2 PageID #: 33




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE

UNITED STATES OF AMERICA, )
                          )
           PLAINTIFF      )
                          )
     v.                   )                 CASE NO. 3:22-CR-144-DJH
                          )
GARY W. KOCH,             )
                          )
           DEFENDANT      )
                                    *******
                    NOTICE TO THE COURT AND UNITED STATES OF
                     SCHEDULED MENTAL HEALTH EVALUATION
                              ELECTRONICALLY FILED

       Comes GARY W. KOCH, by counselors, Nick Mudd and Richard Meena, and hereby

gives notice to this Honorable Court and to the United States Government that the Court Ordered

Mental Health Evaluation for the Defendant has been scheduled with forensic psychologist Dr.

Lauren Kaplan on March 6, 2023, at 9:30 A.M.

       WHEREFORE, Counselors give the appropriate notice of the Mental Health Evaluation

for Mr. Gary W. Koch in the above-styled case.



Respectfully submitted,

/s/ NICHOLAS D MUDD                         /s/ RICHARD MEENA
_________________________                   _________________________
NICHOLAS D. MUDD                            RICHARD MEENA
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  Case 3:22-cr-00144-DJH Document 17 Filed 01/17/23 Page 2 of 2 PageID #: 34




                                  CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing notice was filed on January 17, 2023, with
service to all parties via ECF.

/s/ NICHOLAS D MUDD                          /s/ RICHARD MEENA
________________________                     ________________________
NICHOLAS D MUDD                              RICHARD MEENA
Defense Counsel                              Defense Counsel
